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                       IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


    ESTATE OF PATRICK HARMON, SR.;
       PATRICK HARMON II, as Personal
  Representative of the Estate of Patrick Harmon,
   Sr. and heir of Patrick Harmon, Sr.; TASHA
     SMITH, as heir of Patrick Harmon, Sr.,           ORDER GRANTING MOTION TO
                                                     RECONSIDER ORDER OF REMAND
                    Plaintiffs,
                                                        Case No. 2:19-CV-00553-HCN-CMR
                        v.
                                                            Judge Howard C. Nielson, Jr.
                                                             United States District Judge
    SALT LAKE CITY, a municipality; and
   OFFICER CLINTON FOX, in his individual
                capacity,

                   Defendants.


        For the reasons stated on the record, and for good cause appearing, IT IS HEREBY

 ORDERED that:

        1.     Docket Number 51, Motion to Vacate Remand Order is GRANTED.

        2.     Docket Number 34, Order Granting Plaintiff’s Motion to Remand to State Court is

               VACATED.

        3.     The Court will exercise supplemental jurisdiction over Plaintiffs’ state-law claims.

                                             Dated this 18th day of May, 2022.
                                             BY THE COURT:



                                             ___________________________
                                             Howard C. Nielson, Jr.
                                             United States District Judge
